  Case 23-00050      Doc 38   Filed 06/12/23 Entered 06/13/23 10:35:59             Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                                    ) BK No.: 18-13351
Valerie Francis Tolson,                                   )
                                                          ) Chapter: 7
                                                          )
                                                            Honorable Jacqueline P Cox
                                                          )
                                                          )
                                   Debtor(s)              )
Valerie Francis Tolson,                                   ) Adv. No.: 23-00050
                                                          )
                                                          )
                                    Plaintiff(s)
Navient, Illinois Student Assistance Company, ECMC        )
                                                          )
Educational Credit Management Corporation, et. al.
                                                          )
                                   Defendant(s)           )

                               Order Dismissing Complaint as Moot

       THIS CAUSE coming before the Court on the Motion of Defendant, Educational Credit
Management Corporation, to Dismiss Complaint as Moot, due notice given and the Court being fully
advised, IT IS HEREBY ORDERD:

  1. The Complaint herein is dismissed as moot, with prejudice, and with each party bearing their own
costs and fees.




                                                        Enter:


                                                                 Honorable Jacqueline P. Cox

Dated: June 12, 2023                                             United States Bankruptcy Judge

 Prepared by:
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